Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 1 of 89




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


Civil Action No. 11-cv-01389-WJM-KLM

GENETIC TECHNOLOGIES LIMITED,
an Australian corporation,

       Plaintiff,

       v.

AGILENT TECHNOLOGIES, INC., a Delaware corporation;
BRISTOL-MYERS SQUIBB COMPANY, a Delaware corporation;
EUROFINS STA LABORATORIES, INC., a Colorado corporation;
GENESEEK, INC., a Nebraska corporation;
GLAXOSMITHKLINE LLC, a Delaware corporation;
HOLOGIC, INC., a Delaware corporation;
MERIAL L.L.C., a Delaware limited liability company;
PFIZER INC., a Delaware corporation; and
454 LIFE SCIENCES CORPORATION, a Delaware corporation;

       Defendants.


                    FIRST AMENDED COMPLAINT WITH JURY DEMAND



       Plaintiff Genetic Technologies Limited ("GTG") files this Complaint against Defendants

Agilent Technologies, Inc. ("Agilent"), Bristol-Myers Squibb Company ("Bristol-Myers"),

Eurofins STA Laboratories, Inc. ("ESTA"), GeneSeek, Inc. ("GeneSeek"), GlaxoSmithKline

LLC ("GSK"), Hologic, Inc. ("Hologic"), Merial L.L.C. ("Merial"), Pfizer Inc. ("Pfizer"), and

454 Life Sciences Corporation ("454") (hereinafter referred to collectively as "Defendants"

unless otherwise specified) alleging as follows:
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 2 of 89




                                    I.      THE PARTIES

         1.    Plaintiff GTG is an Australian corporation with a principal place of business in

Victoria, Australia.

         2.    Upon information and belief, Agilent is a corporation organized and existing

under the laws of the state of Delaware, with its principal place of business located at 5301

Stevens Creek Boulevard, Santa Clara, California 95051. Agilent can be served with process

through its registered agent, The Corporation Trust Company, Corporation Trust Center, 1209

Orange Street, Wilmington, Delaware 19801.

         3.    Upon information and belief, Bristol-Myers is a corporation organized and

existing under the laws of the state of Delaware, with its principal place of business located at

345 Park Avenue, New York, New York 10154. Bristol-Myers can be served with process

through its registered agent, The Corporation Trust Company, Corporation Trust Center, 1209

Orange Street, Wilmington, Delaware 19801.

         4.    Upon information and belief, ESTA is a corporation organized and existing under

the laws of the state of Colorado, with its principal place of business located at 1821 Vista View

Drive, Longmont, Colorado 80504. ESTA can be served with process through its registered

agent, National Corporate Research, Ltd., 12649 West Warren Avenue, Lakewood, Colorado

80228.

         5.    Upon information and belief, GeneSeek is a corporation organized and existing

under the laws of the state of Nebraska, with its principal place of business located at 4665

Innovation Drive, Suite 120, Lincoln, Nebraska 68521. GeneSeek can be served with process at

its principal place of business.


                                                2
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 3 of 89




         6.    Upon information and belief, GSK is a company organized and existing under the

laws of the state of Delaware, with its principal place of business located at One Franklin Place,

200 North 16th Street, Philadelphia, Pennsylvania 19106. GSK can be served with process

through its registered agent, Corporation Service Company, 2711 Centerville Road, Suite 400,

Wilmington, Delaware 19808.

         7.    Upon information and belief, Hologic is a corporation organized and existing

under the laws of the state of Delaware, with its principal place of business located at 35 Crosby

Drive, Bedford, Massachusetts 01730. Hologic can be served with process through its registered

agent, Corporation Service Company, 2711 Centerville Road, Suite 400, Wilmington, Delaware

19808.

         8.    Upon information and belief, Merial is a limited liability organized and existing

under the laws of the state of Delaware, with its principal place of business located at 3239

Satellite Boulevard, Duluth, Georgia 30096. Merial is a joint venture between Merck & Co. and

Sanofi-Aventis U.S.    Merial can be served with process through its registered agent, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street Wilmington,

Delaware 19801.

         9.    Upon information and belief, Pfizer is a corporation organized and existing under

the laws of the state of Delaware, with its principal place of business located at 235 East 42nd

Street, New York, New York 10017-5755.          Pfizer can be served with process through its

registered agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange

Street, Wilmington, Delaware 19801.




                                                3
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 4 of 89




       10.    454 is organized and existing under the laws of the state of Delaware with its

principal place of business located at 1 Commercial Street, Branford, Connecticut, 06405. 454

can be served with process through its registered agent The Corporation Trust Company,

Corporation Trust Center 1209 Orange Street, Wilmington, Delaware 19801.

                            II.          JURISDICTION AND VENUE

       11.    This Court has exclusive jurisdiction of this action for patent infringement

pursuant to 28 U.S.C. § 1338(a).

       12.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1338(a).

       13.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and 1400.

       14.    Upon information and belief, Defendants each have minimum contacts with this

judicial district such that this forum is a fair and reasonable one. Defendants have also each

committed such purposeful acts and/or transactions in Colorado that they reasonably knew

and/or expected that they could be hauled into court as a future consequence of such activity.

Upon information and belief, Defendants have also transacted and/or, at the time of the filing of

this Amended Complaint, are transacting business within the District of Colorado. For these

reasons, personal jurisdiction exists over all Defendants and venue over this action is proper in

this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b).

                                  III.     THE PATENT-IN-SUIT

       15.    On March 18, 1997, United States Patent No. 5,612,179 ("the '179 Patent") was

duly and legally issued for an "Intron Sequence Analysis Method for Detection of Adjacent




                                                 4
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 5 of 89




Locus Alleles as Haplotypes." A true and correct copy of the '179 Patent is attached as Exhibit

A.

       16.    GTG is the owner of the '179 Patent by assignment from Genetype AG, who was

originally assigned the technology by the inventor Dr. Malcolm Simons, with the exclusive right

to enforce and collect damages for infringement of the '179 Patent during all relevant time

periods.

       17.    The '179 Patent generally relates to methods of analysis of non-coding DNA

sequences.

       18.    The Abstract of the '179 Patent relevantly provides:

       The present invention provides a method for detection of at least one allele of a
       genetic locus and can be used to provide direct determination of the haplotype.
       The method comprises amplifying genomic DNA with a primer pair that spans an
       intron sequence and defines a DNA sequence in genetic linkage with an allele to
       be detected. The primer-defined DNA sequence contains a sufficient number of
       intron sequence nucleotides to characterize the allele. Genomic DNA is amplified
       to produce an amplified DNA sequence characteristic of the allele. The amplified
       DNA sequence is analyzed to detect the presence of a genetic variation in the
       amplified DNA sequence such as a change in the length of the sequence, gain or
       loss of a restriction site or substitution of a nucleotide. The variation is
       characteristic of the allele to be detected and can be used to detect remote alleles.

       19.    Independent Claims 1 and 26 of the '179 Patent read:

               1. A method for detection of at least one coding region allele of a multi-
       allelic genetic locus comprising: a) amplifying genomic DNA with a primer pair
       that spans a non-coding region sequence, said primer pair defining a DNA
       sequence which is in genetic linkage with said genetic locus and contains a
       sufficient number of non-coding region sequence nucleotides to produce an
       amplified DNA sequence characteristic of said allele; and b) analyzing the
       amplified DNA sequence to detect the allele.

              26. A DNA analysis method for determining coding region alleles of a
       multi-allelic genetic locus comprising identifying sequence polymorphisms
       characteristic of the alleles, wherein said sequence polymorphisms characteristic


                                                5
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 6 of 89




       of the alleles are present in a non-coding region sequence, said non-coding region
       sequence being not more than about two kilobases in length.

       20.     The '179 Patent is presumed valid and enforceable pursuant to 35 U.S.C. § 282.

       21.     The '179 Patent was previously asserted by GTG in the matter of Genetic

Technologies Ltd. v. Applera Corp., Case No. C 03-1316-PJH, in the United States District for

the Northern District of California (the "Applera Action"). The Applera Action was ultimately

settled with Applera Corporation taking a license to the '179 Patent, among others.

       22.     The '179 Patent was the subject of a declaratory judgment action initiated by

Monsanto in the matter of Monsanto Company v. Genetic Technologies Ltd., Case No. 06-cv-

00989-HEA, in the United States District Court for the Eastern District of Missouri, Eastern

Division (the "Monsanto Action"). That Monsanto Action was ultimately settled. Monsanto has

now taken three licenses to the '179 Patent, among others.

       23.     The '179 Patent was most recently asserted by GTG in the matter of Genetic

Technologies Ltd. v. Beckman Coulter, Inc., et al, Case No. 10-cv-0069-BBC, in the United

States District Court for the Western District of Wisconsin (the "Beckman Coulter Action"). The

Beckman Coulter Action was resolved with at least Beckman Coulter, Inc., Gen-Probe, Inc.,

Interleukin Genetics Incorporated, Molecular Pathology Laboratory Network, Inc., Orchid

Cellmark, Inc., Pioneer Hi-Bred International, Inc., and Sunrise Medical Laboratories, Inc. all

taking a license to the '179 Patent, among others. GTG has secured over $14.5 million in

licensing revenue since the filing of the Beckman Coulter Action in 2010.

       24.     In addition to the licenses identified in the preceding paragraphs, the '179 Patent

and related patents have been licensed to at least the following entities: AgResearch Ltd.; ARUP

Laboratories, Inc.; Australian Genome Research Facility Ltd.; Bio Reference Laboratories

                                                6
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 7 of 89




(subsidiary GeneDx); Bionomics Ltd.; BioSearch Technologies Inc.; Pfizer Animal Health; C Y

O'Connor ERADE Village Foundation (incorporating the Immunogenetics Research Foundation

and the Institute of Molecular Genetics and Immunology Incorporated); Crop and Food Research

Ltd.; DNA Diagnostics Ltd.; General Electric Co. and its subsidiary GE Healthcare Bio-Sciences

Corp.; Genosense Diagnostics GmbH; Genzyme Corp.; Innogenetics N.V.; Kimball Genetics,

Inc.; Laboratory Corporation of America Holdings, Inc.; Livestock Improvement Corporation

Ltd.; MetaMorphix, Inc.; Millennium Pharmaceuticals Inc.; Myriad Genetics, Inc.; Nanogen,

Inc.; New Zealand Blood Service; Optigen, L.L.C.; Ovita Ltd.; Perlegen Sciences, Inc.;

Prometheus Laboratories Inc.; Qiagen, Inc.; Quest Diagnostics Inc.; Sciona, Inc.; Sequenom,

Inc.; Syngenta Crop Protection AG; Thermo Fisher Scientific Inc.; TIB MOLBIOL

Syntheselabor GmbH; Tm Bioscience Corporation; Gen-Probe, Inc.; and others.

       25.      Certain claims of the '179 Patent, including Claim 26, were recently subjected to

an ex parte reexamination before the United States Patent and Trademark Office ("USPTO") that

was initiated by an unknown entity. On February 4, 2010, the USPTO issued a Notice of Intent

to Issue Ex Parte Reexamination Certificate indicating that the subject claims were confirmed as

valid without amendment. A true and correct copy of that Reexamination Certificate is attached

as Exhibit B.

       26.      The '179 Patent expired on March 9, 2010. However, GTG remains entitled to

collect damages for past infringement occurring during the term of the '179 Patent pursuant to 35

U.S.C. §§ 284 and 286.




                                                7
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 8 of 89




                          IV.     DEFENDANTS' INFRINGEMENT

       27.     Upon information and belief, and as further described below, Defendants have

manufactured, made, had made, used, practiced, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or services in the United States that infringed one or more

claims of the '179 Patent; and/or Defendants have induced and/or contributed to the infringement

of one or more of the claims of the '179 Patent by others in the United States.

       A.      AGILENT

       28.     Agilent acquired Stratagene Corporation ("Stratagene") in June of 2007, and

Stratagene became part of Agilent's Bio-Analytical Measurements business group. According to

Stratagene marketing materials, "[i]t offers products in various categories, including

amplification, cloning, nucleic acid analysis, quantitative PCR, cell biology, microarrays, and

protein function and analysis. [Stratagene] also provides software for pathway analysis and

microarray data analysis."

       29.     In 2008, $2.3 billion of Agilent's net revenue was attributed to its Bio-Analytical

Measurement business group, which provides "instruments, software, consumables and services

that enable customers to identify, quantify and analyze the physical and biological properties of

substances and products."    In 2009, $2.1 billion of Agilent's net revenue was attributed to its

Bio-Analytical Measurement business group. In 2010, $1.5 billion of Agilent's net revenue was

attributed to its Life Science business group, which includes "liquid chromatography, mass

spectrometry, microarrays, polymerase chain reaction (PCR) instrumentation, related

bioreagents, electrophoresis, laboratory automation and robotics, software and informatics,

nuclear magnetic resonance (NMR) and magnetic resonance imaging (MRI) systems, and related


                                                 8
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 9 of 89




consumables and services." Many of the Agilent products responsible for these revenues were

utilized by Agilent customers with Agilent's knowledge and encouragement to practice methods

that infringed upon the '179 Patent.

       30.     By way of example only, and upon information and belief, the Agilent 2100

Bioanalyzer product has been used by Agilent customers to determine a single nucleotide

polymorphism, specifically the G20210A mutation, which is in a non-coding region of the multi-

allelic prothrombin gene and results in a hereditary predisposition to venous thrombosis. In

practice, Agilent customers have amplified DNA using PCR and analyzed the amplified DNA

using RFLP and the 2100 Bioanalyzer to determine the presence of the G20210A mutation and a

predisposition to venous thrombosis. These activities directly infringed the '179 Patent. Upon

information and belief, Agilent encouraged these activities and knew that the activities by its

customers infringed the '179 Patent.

       31.     Also, by way of example only, and upon information and belief, Agilent's

GeneSpring Analysis Platforms have been used by Agilent customers to infringe at least one

claim of the '179 patent when used to analyze DNA in the non-coding region. Indeed, Agilent's

GeneSpring GT marketing materials state that the platform "enables you to quickly identify

genotype-phenotype relationships using a comprehensive set of linkage and association

algorithms." Upon information and belief, GeneSpring GT has been used by Agilent customers

to identify non-coding markers which provide useful information concerning linked DNA.

Agilent's customers have then used this information to analyze DNA for such non-coding

markers using amplification.      These activities directly infringed the '179 Patent.   Upon




                                               9
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 10 of 89




information and belief, Agilent encouraged these activities and knew that the activities by its

customers infringed the '179 Patent.

       32.     Also, by way of example only, Agilent has sold a range of Comparative Genomic

Hybridization Microarray products that have been used by Agilent customers to infringe at least

one claim of the '179 Patent. These microarrays enable characterization of genetic variations,

including those caused by developmental abnormalities, disease susceptibility and differential

drug responses. For example and upon information and belief, Agilent has sold HD-CGH

Custom Arrays that were developed by Agilent specifically for Agilent customers and enabled

amplification of genes using PCR and contained probes including non-coding sequences on

chromosomes to be analyzed to determine the presence or absence of non-coding sequences

associated with multi-allelic genes. These activities infringed one or more claims of the '179

Patent. Upon information and belief, Agilent encouraged these activities and knew that these

activities by its customers infringed the '179 Patent.

       33.     Agilent had actual knowledge of the '179 Patent during times relevant to this

action through at least its research, development and/or patent application activities. In addition,

'Agilent has had actual knowledge of the '179 Patent since at least as early as June 2006 when

GTG contacted Agilent to offer it a license to the '179 Patent. Rather than negotiate a license to

the '179 Patent with GTG at that time, Agilent took unreasonable positions as to why the use of

its products did not infringe the '179 Patent, declined GTG's offered license, and continued to sell

products that enabled and encouraged its customers to directly infringe the '179 Patent.




                                                 10
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 11 of 89




       B.        BRISTOL-MYERS

       34.       Bristol-Myers is actively engaged in pharmacogenetics. Bristol-Myers claims that

it: "engages in genomic research for the purpose of improving human health care, and we

endorse an open and informed public dialogue on all aspects of genomic research. . . . At

Bristol-Myers Squibb, we currently use biomarkers in most of our first-in-human studies.

Pharmacogenomic studies, which combine traditional pharmaceutical sciences such as

biochemistry with annotated knowledge of genes, proteins and single nucleotide polymorphisms,

are run in nearly all our oncology projects to more precisely target patient populations. . . .

Bristol-Myers Squibb's bioinformatics group exploits and integrates all available sources of

genome data to understand disease, for use throughout the drug discovery process."

       35.       Bristol-Myers is a member of the Industry Pharmacogenomics Working Group, a

voluntary and informal association of pharmaceutical companies engaged in research in the

science of pharmacogenomics. Bristol-Myers is also a member of The SNP Consortium (the

"TSC"). According to TSC marketing materials: "The goal of the TSC allele frequency/genotype

project is to determine the frequency of certain SNPs in three major world populations . . . to

enhance the understanding of disease processes and facilitate the discovery and development of

safer and more effective medications." Given that the majority of the human genome is covered

by the non-coding region, many of these SNPs are located in non-coding regions.

       36.       Bristol-Myers has also actively advocated pharmacogenetic research and has

undertaken its own studies and has supported third party studies via grants and funding. These

studies support Bristol-Myers' investigations of gene polymorphisms associated with disease and

drug response.


                                                11
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 12 of 89




       37.    Bristol-Myers' pharmacogenetic activities include the analysis of non-coding

DNA markers. By way of example only, and upon information and belief, Bristol-Myers has

analyzed (or directed others to analyze) non-coding markers in connection with its Coumadin

(Warfarin) and Plavix (Clopidogral) drugs using methods that infringe the '179 Patent. These

Bristol-Myers products received label changes to reflect pharmacogenomic information in 2007

and 2009, respectively.

       38.    Warfarin is the most widely prescribed anticoagulant for thromboembolic therapy

in North America and Europe. Approximately 2 million people are initiated on Warfarin therapy

each year to prevent blood clots, heart attacks and stroke.       However, Warfarin dosage

requirements are highly variable both inter-ethnically and inter-individually. Mutations in

vitamin K epoxide reductase complex, subunit 1 (VKORC1) have been identified to be

associated with Warfarin effect and dosage. According to the FDA's adverse events reporting

database: "complications from Warfarin (Bristol-Myer's Squibb's Coumadin) are the second most

common reason for patients to go to the emergency room. . . ." Thus the use of pharmacogenetic

testing is very important to the safety and efficacy of Coumadin. Coumadin is a commercially

available form of Warfarin registered to Bristol-Myers Squibb Pharma Company, a division of

Bristol-Myers. There is currently, and has been for some time, no direct competitor drug to

Coumadin on the market.

       39.    A polymorphism in the promoter region of VKORC1 gene, -1639 A>G, is highly

associated with inter-individual variability in Warfarin dose requirements. Promoter

polymorphism -1639 A>G is listed by the FDA as a bio-marker for pharmacogenomic testing for




                                             12
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 13 of 89




Warfarin sensitivity. It is claimed that 30% of dosage variability in Caucasian population is

attributed to the VKORC1 gene alone.

       40.     In 2007, Bristol Myers began including information about the importance of -

1639 A>G and Warfarin dosage in the package insert of Coumadin. The importance of the

VKORC1 genotype in deciding the initial dosage is also emphasized in the inserts. In 2009, the

International Warfarin Pharmacogenetics Consortium (IWPC) developed a Warfarin dose

prediction algorithm using findings from nine different countries and based on the relationship

between dose requirements and the known clinical and genetic factors.

       41.     There are four FDA approved tests (Nanosphere, Autogenomics, ParagonDX and

Osmetech) available for Warfarin testing. In addition, numerous laboratory developed test are

also available. The first genetic test to be cleared by the FDA for Warfarin resistance testing was

Nanosphere's genetic test. The test was cleared in September 2007, shortly following Bristol-

Myers' labeling change for Coumadin.

       42.     Upon information and belief, Bristol-Myers has (and/or has direct others to)

amplify DNA with a primer pair spanning a DNA sequence containing the -1639A>G

polymorphism which Bristol-Myers has associated with inter-individual variability in Warfarin

dosage requirements. The analysis of this non-coding DNA marker in this manner thus infringed

upon claims of the '179 Patent.

       43.     With respect to Clopidogral, its metabolism is enhanced by CYP2C19*17

promoter polymorphism -806 C>T. Bristol-Myers has funded and/or provided assistance to

several studies to investigate the impact of genetic polymorphisms on metabolism of




                                                13
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 14 of 89




Clopidogral, with at least two such studies analyzing the non-coding CYP2C19*17 promoter

polymorphism.

          44.   Plavix, Bristol-Myers' commercially available form of Clopidogral, is Bristol-

Myers' largest selling drug, accounting for $6.7 billion sales in 2010. This drug is marketed by

Bristol-Myers along with Sanofi-Aventis.

          45.   In March 2009, the FDA announced a new Plavix warning alerting doctors and

patients to the effectiveness of Plavix depending on CY2C19 genotype. Enhanced metabolisers

carry CYP2C19*17 allele, which is a promoter polymorphism (-806 C>T). This non-coding

promoter polymorphism is not included in the Plavix package insert, however it is included in

the genetic tests offered by laboratories to test effectiveness of Clopidogral.

          46.   Upon information and belief, Bristol-Myers has (and/or has direct others to)

amplify DNA with a primer pair spanning a DNA sequence containing the -806 C>T

polymorphism which Bristol-Myers has associated with metabolism of Clopidogral.               The

analysis of this non-coding DNA marker in this manner thus infringed upon claims of the '179

Patent.

          47.   Bristol-Myers has also performed (and/or directed others to perform) other

genotyping activities that infringed one or more claims of the '179 Patent.       Upon information

and belief, these activities were also directly related to the safety and efficacy and thus the

development and/or sale of various drugs.

          48.   By way of example only, Bristol-Myers conducted a study in 2008 (by Ranade et

al.), to study the role of genetic variation associated with highly active antiretroviral therapy.

The study investigated almost 300 SNPs in 135 candidate genes. The study genotyped "the


                                                 14
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 15 of 89




entire cohort for eight SNPs in resistin, including four newly identified by sequencing and two

from phylogenetically conserved regions." Some of these SNPS were in non-coding regions. It

was determined in the study that "none was as significantly associated as the SNP in intron 2. . . .

Furthermore, haplotype analysis revealed that only haplotypes bearing the intron 2 SNP,

rs3219177, were significantly associated with cluster membership. . . . Taken together these

results indicate that this SNP is potentially causative." This study was related to HIV treatment.

Bristol-Myers claims that it: "has long been a leader in developing innovative HIV/AIDS

medications and treatments and will continue to make HIV/AIDS research a top priority. . . .

Our company allocates substantial R&D resources to developing new medicines and treatments

in the global fight against HIV/AIDS. We are exploring new ways to attack the AIDS virus and

new ways to help make treatments for patients to take."

        49.     Also by way of example only, Bristol-Myers conducted a study in 2007 (by

Zhang et al.), involving PCR amplification of the UGTA1*28 polymorphism, to study

characterization of the UDP glucuronosyl transferase activity of human liver microsomes

genotyped for the UGT1A1*28 polymorphism.

        50.     Also by way of example only, Bristol-Myers funded a study in 2006 (by Florez et

al.), concerning the association of two non-coding SNPs rs12255372 and rs7903146 of the

TCF7L2 gene with the progression to diabetes. Genotyping was performed in the study using

allele specific primers.

        51.     Upon information and belief, Bristol-Myers had actual knowledge of the '179

Patent during times relevant to this action through at least its research, development and/or

patent application activities.


                                                15
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 16 of 89




       C.      ESTA

       52.     ESTA has facilities in Colorado and California and offers seed genetics, seed

quality and plant health services to others. According to its literature, ESTA's "high-throughput

DNA laboratory is located in [the] Colorado facility and is supported by a network of Eurofins

DNA laboratories throughout the world."

       53.     ESTA genetic services consist of two divisions: "the HTP Lab which specializes

in isoelectric focusing (IEF) of plant proteins for hybrid purity, varietal identification and

uniformity and the DNA Lab which works with various types of DNA specific markers which

encompasses everything from database applications to marker assisted selection, to screening

with trait linked markers, GMO screening and more. . . . If a given hybrid turns out to be non-

informative or monomorphic regarding the protein banding patterns we can then pass it on to our

DNA lab which has about a 99% success rate in identifying polymorphisms in most vegetable

species."    ESTA's DNA Lab offers marker assisted backcrossing (MAB), marker assisted

selection (MAS), database genotyping (DB), trait linked markers (TLM), and quantitative trait

loci (QTL) identification services.

       54.     ESTA's marketing materials discuss commonly used molecular markers in the

plant breeding industry. Among many desirable qualities for a marker, the top two desirable

qualities are polymorphic and multi-allelic. The two markers identified by ESTA as satisfying

these criteria are PCR-based Simple Sequence Repeats (SSRs) and Single Nucleotide

Polymorphism (SNPs).

       55.     The majority of SSRs are non-coding as a majority of the genome is non-coding.




                                               16
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 17 of 89




       56.     The majority of SNPs will also be in a non-coding DNA region. Indeed, ESTA

admits that: "SNPs are abundant in all genomes and can be found approximately every kilobase

(1,000 base pairs). They are also spread evenly throughout the genome. This offers the potential

for generating very high density genetic maps, which will be extremely useful for developing

haplotyping systems for genes or regions of interest. They may be the polymorphisms associated

with the gene of interest under study and therefore direct selection of the gene is possible."

       57.     ESTA admits that it has "identified an optimal number of markers spaced

throughout a plant's genome and studied computer simulations to determine the number of plants

to test each generation. In each backcross generation, the population has a wide range for

percentage of recurrent parent genome. Applying DNA markers effectively and efficiently

allows you to identify the individuals that inherit the highest percentage of the recurrent parent

genome plus the trait of interest. As a complement after backcrossing, our service can select

individuals homozygous for the trait of interest thereby expediting commercialization of your

product."

       58.     Upon information and belief, ESTA has also customized marker strategies to suit

customer needs and also analyzes markers to select desired traits and help design desired genetic

ratio of original parent and cross as a part of its MAS services.

       59.     ESTA has also offered database genotyping which is based on "specific sets of

molecular markers for any given species" and "use the same set of DNA markers on all entries."

ESTA admits on its website that genotyping can be used for inbred line development,

confirmation of pedigrees and association studies. ESTA also claims to have collected a large

number of trait linked markers in many species. According to ESTA: "In some cases, we have


                                                 17
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 18 of 89




identified molecular markers linked to genes which promote expression of a specific trait, for

example a disease resistance gene. Using the marker, we can identify plants carrying the gene,

including the zygosity, even in the absence of the selection agent and at any stage of plant

growth."

       60.     Sometimes important traits are difficult to select by phenotype due to contribution

by more than one gene or failure to locate a gene that is responsible for the trait. In such cases

markers are used to map and identify a locus using appropriate phenotypic, genotypic and

statistical analyses. A stretch of DNA containing the gene or linked markers responsible for a

quantitative trait is referred to as a QTL. Upon information and belief, ESTA has offered QTL

mapping and identification services by closely working with their customers "to determine the

best population type to work with, number of individuals to test, number of markers to apply,

and other unique aspects of your breeding program to help ensure you accomplish your program

goals." ESTA also states that its "Genetic Services can identify DNA markers that span a plants

genome based on your specific population(s). When analyzed on a segregating or recombinant

inbred population along with appropriate phenotypic data, genomic regions can be identified

which contribute to a specific phenotype. The phenotype or trait could be a quantitative trait

implying many genes could contribute to the phenotype or a qualitative trait resulting from one

or two major genes." Trait specific molecular marker technology (MMT) is also used by ESTA

genetic services laboratory to test hybrid purity.

       61.     U.S. Patent Application Publication No. U.S. 2011/0041204 A1, entitled

"Methods for Enhancing the Production and Consumer Traits of Plants" ("the '204 Publication")

refers to the use of ESTA services sometime before the filing date of the '204 Publication on


                                                 18
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 19 of 89




August 12, 2009. The '204 Publication states: "Even if an enzymatic basis for a particular

mutant gene is not known, and the nucleotide sequence for the gene encoding the enzyme is not

known, and is not present in the Maize Genetics and Genomics or GenBank databases, the

inheritance of the gene can still be determined by those having ordinary skill in the art by

following nearby molecular markers on the chromosome including the gene. . . ." The '204

Publication also discusses the use of commercially available DNA polymorphisms that were

tested for trait identification for the su1, se2 and sh2 genes. The sh2 gene, which is multi-allelic,

can mutate from a G nucleotide to a C, T or A nucleotide in intron 15 of the gene. When the

mutation (C, T or A) is expressed in a plant, such as maize, enhanced growth characteristics

occur. The '204 Publication further states that ESTA provided services and used 330 SSR

markers for the study described in the '204 Publication.         All of those markers are, upon

information and belief, in non-coding regions.

        62.     As described above, ESTA has utilized many non-coding DNA markers using

amplified DNA with a primer pair spanning a DNA sequence containing these non-coding

markers. For example, ESTA's marketing materials describe the laboratory process for seed

sampling to include PCR amplification.         ESTA has associated these markers with genes

responsible for desired traits of economic importance. ESTA's analysis of these non-coding

DNA markers thus directly infringed upon claims of the '179 Patent.

        63.     Upon information and belief, ESTA had actual knowledge of the '179 Patent

during times relevant to this action through at least its research, development and/or patent

application activities.




                                                 19
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 20 of 89




           D.    GENESEEK

           64.   GeneSeek is a commercial agricultural genetics laboratory, providing agri-

genomic services to research and development and commercial industries.            These services

include genotyping and gene mapping from sample processing through to data analysis and

evaluation, and SNP profiling, marker-assisted selection, identity and diagnostics testing.

GeneSeek's marketing materials list alpaca, cattle, canine, goat, horse, swine and sheep as well as

maize, rice, soybean and wheat plant species as among the species that it has conducted such

testing.

           65.   GeneSeek maintains service testing facilities in Lincoln, Nebraska that hold a

range of platform technologies used to perform its agri-genomic services. These include the

Sequenom MassARRAY, Li-Cor DNA Sequence Analyzer and Illumina GoldenGate and

Infinium platforms.

           66.   According to GeneSeek: "with our technical platforms we can handle any project,

from a few SNPs (single nucleotide polymorphisms) on thousands of samples to a million SNPs

on a few samples. We can process any sample type including hair, blood, tissue and more. We

also provide clinical veterinary diagnostics for trait and disease markers and for pathogen

detection using quantitative real-time PCR and ELISA. . . . For 12 years we have been the trusted

leader in providing high-throughput SNP and microsatellite genotyping services to the

agricultural research and business communities."

           67.   GeneSeek has performed SNP profiling on Illumina products such as:

           Bovine 3K Net Merit Panel 3072 SNP panel

           Bovine SNP50 BeadChip – 54,609 informative SNP markers


                                                20
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 21 of 89




       BovineHD – High density genotyping with greater than 777,000 SNP markers

       CanineHD – High density genotyping with greater than 170,000 SNP markers

       PorcineSNP60 BeadChip – 62,163 informative SNP markers

       OvineSNP50 BeadChip – 54,241 informative SNP markers

       EquineSNP50 BeadChip – 54,602 informative SNP markers

       Maize SNP50 BeadChip – 56,110 informative SNP markers

       Mouse Custom 9K BeadChip

       68.     SNP profiling using Illumina products detects and analyzes many non-coding

DNA markers. By way of example only, the "PorcineSNP60 BeadChip features more than

62,000 evenly spaced SNPs across the entire porcine genome." Since more than 95% of the pig

genome is non-coding DNA, many of the probes which target "evenly spaced polymorphic

SNPs" are located in non-coding regions. The use of these Illumina products thus infringed upon

claims of the '179 Patent.

       69.     Upon information and belief, GeneSeek utilized DNA amplification as a part of

its testing services. By way of example only, GeneSeek states in its marketing materials:

"GeneSeek can provide genotyping services for . . . whole genome scans or marker assisted

selection . . . Genotyping from plant samples that allow high throughput genotyping at very low

cost. From one or two small leaf disc punches, we are able to analyze your target of interest

using standard PCR, real-time PCR, SNPs or microsatellite markers."

       70.     Also by way of example only, GeneSeek has performed sequencing and

microsatellite analysis using the Li-Cor DNA Sequence Analyzer. This platform utilizes PCR

amplification of DNA to prepare samples for analysis. Upon information and belief, GeneSeek's


                                              21
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 22 of 89




sequencing and microsatellite analysis included analysis of markers in non-coding regions.

Thus, these activities infringed upon claims of the '179 Patent.

       71.     Also, by way of example only, GeneSeek's identity and diagnostics portfolio

includes "Seek-Gain: Total Gain" and "Seek-Gain: Animal Gain" tests which detect and analyze

the non-coding A/G variant at position +179 in the 5' untranslated region of the CCKAR gene

and C/T variation at position 576 in intron 6 of the HMGA1 gene. According to GeneSeek, the

"cholecystokinin type A receptor (CCKAR) genetic test is associated with physiological control

of feed intake, ~5% higher daily feed intake, 3% higher daily gain, and 3% fewer days to reach

180kg, when compared to homozygotes for the A-variant" and the "high mobility group AT-

hook protein 1 (HMGA1) genetic test is associated with lean mass percentage, growth and back

fat in several swine breeds. Producers can test and select animals (T-variant at position 576)

which are likely to be leaner and produce offspring that are leaner." Upon information and

belief, these testing services infringed upon claims of the '179 Patent.

       72.     Also, by way of example only, GeneSeek's "Seek-Gain: Total Gain" and "Seek-

Gain: Litter Size" tests detect and analyze the non-coding C/T variant in intron 4 of the EPOR

gene. According to GeneSeek, there is "a genetic variant in the swine erythropoietin receptor

gene associated with uterine capacity and litter size.       The favorable genetic variation has

demonstrated an increase in uterine capacity as well as an increase in live births in two different

swine populations at USDA – MARC, including the industry-relevant BX population. In a

commercial herd, an extra pig per litter was observed when comparing boars that have two

copies of the favorable EPOR marker versus boars with zero copies." Upon information and

belief, these testing services infringed upon claims of the '179 Patent.


                                                 22
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 23 of 89




        73.     Upon information and belief, GeneSeek had actual knowledge of the '179 Patent

during times relevant to this action through at least its research, development and/or patent

application activities.

        E.      GSK

        74.     GSK is active in the area of pharmacogenetics. In its marketing materials it

admits that: "GSK invests heavily in research, including genomic and genetic research, that may

lead to . . . and new methods of disease detection, prevention and treatment."

        75.     GSK's 2005 Annual Report outlines how pharmacogenetics plays a role in the

strategies used by GSK for drug development:

        Two components are needed in the early stages of finding new medicines - targets
        that can be shown to affect mechanisms of important pathological processes in
        human disease and compounds able to modulate the behavior of specific targets.
        Many diseases arise through complex interactions between gene variants and
        environmental factors. Within GSK, Genetics Research aims to take advantage of
        this by identifying genes which influence common diseases with large unmet
        medical needs and major patient burdens. These insights help in the search for
        targets with known relevance to the disease, and hence a greater chance of
        delivering benefit to the patients. Discovery Research (DR) produces the lead
        compounds that may influence targets which form the basis of drug discovery
        efforts in GSK's Centres of Excellence for Drug Discovery (CEDDs). In 2005,
        DR performed over 90 million assays and provided the CEDDs with 50 high-
        quality new lead compounds. Investment in DR has been focused on increasing
        the quality and quantity of the lead compounds available.

        76.     GSK also reports that it is "an active member of the SNP Consortium ["TSC"],

collaboration between industry and the UK's Welcome Trust, contracting with academic

institutions to identify and map SNPs. The information arising from the collaboration is a

valuable research tool and has been placed in the public domain without IP restrictions. GSK

believes that the value of SNPs lies not so much in their identification but in their association

with diseases or patient response to medicines." In turn, TSC marketing materials indicate that:

                                                23
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 24 of 89




"The goal of the TSC allele frequency/genotype project is to determine the frequency of certain

SNPs in three major world populations . . . to enhance the understanding of disease processes

and facilitate the discovery and development of safer and more effective medications." Given

that the majority of the human genome is covered by the non-coding region, many if not most of

the SNPs identified and mapped by TSC are located in non-coding regions.

       77.       GSK has actively advocated pharmacogenetic research and has undertaken its

own pharmacogenetic studies and has supported third party studies via grants and funding.

These studies support GSK's investigations of gene polymorphisms associated with disease and

drug response.

       78.       GSK's pharmacogenetic activities include the analysis of non-coding DNA

markers. As further described herein, upon information and belief, GSK has analyzed non-

coding markers in connection with the drugs Ziagen (Abacavir) and Tykerb (Lapatinib) using

methods that infringed the '179 Patent. These activities were related to the safety and efficacy

and thus the development and/or sale of Ziagen and Tykerb.

       79.       Abacavir is an antiviral medication used in combination with other antiretroviral

drugs for the treatment of HIV-1 infection. Ziagen is a commercially available form of Abacavir

that is manufactured and sold in the United States by GSK.

       80.       In 2005, GSK conducted a study to identify genetic markers associated with

presence or absence of Abacavir hypersensitivity.       Using a genome wide SNP genotyping

approach that included both coding and non-coding regions, genes associated with immune

response were studied including HLA and TNF α. Many TNF α variants are within non-coding

DNA regions.

                                                24
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 25 of 89




       81.     Upon information and belief, GSK has (and/or through service providers acting at

GSK's direction) amplified DNA with a primer pair spanning a DNA sequence containing a non-

coding polymorphism which GSK has associated with hypersensitivity to Abacavir. These

activities thus directly infringed the '179 Patent. Upon information and belief, GSK encouraged

these activities and knew that the activities infringed the '179 Patent.

       82.     Lapatinib is a tyrosine kinase inhibitor and is an oral medication for breast cancer.

Tykerb is a commercially available form of Lapatinib that is manufactured and sold in the United

States by GSK.      It inhibits HER2 and EGFR and is used in HER2 positive women with

metastatic breast cancer. In a 2007 article in Pharmaweek, GSK's Allen Roses described the use

of densely mapped SNPs within cytochrome P450, genes particularly in CYP2C19, that include

non-coding polymorphisms. Some variants were associated with side effects to this drug.

       83.     Upon information and belief, GSK has also conducted and/or funded at least two

pharmacogenetic studies related to the use of Lapatinib in the treatment of breast cancer, and has

directly (and/or through service providers acting at GSK's direction) amplified DNA with a

primer pair spanning a DNA sequence containing a non-coding polymorphism which GSK has

associated with the efficacy of Lapatinib. The analysis of this non-coding polymorphism in this

manner thus infringed upon claims of the '179 Patent. These activities thus directly infringed the

'179 Patent. Upon information and belief, GSK encouraged these activities and knew that the

activities infringed the '179 Patent.

       84.     GSK has also performed (and/or directed others to perform) other genotyping

activities that infringed one or more claims of the '179 Patent.      Upon information and belief,




                                                 25
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 26 of 89




these activities were also directly related to the safety and efficacy and thus the development

and/or sale of various GSK drugs.

       85.     By way of example only, GSK conducted a study in 2009 that was reported in an

article entitled "CTLA4 Gene Polymorphisms are Associated with Chronic Bronchitis" in the

European Respiratory Journal. It was reported in the article that:

       Six CTLA4 SNPs were significantly associated with chronic bronchitis in the
       ICGN cohort (0.0079≤p≤0.0432) with three being replicated with the same
       directionality of association in the Bergen cohort (0.0325≤p≤0.0408). One of
       these replicated SNPs (rs231775) encodes the Thr to Ala substitution at amino
       acid position 17. Haplotype analyses supported the results of single SNP analyses
       ...

       As CTLA4 is located near the region on chromosome 2q that showed significant
       linkage with COPD-related phenotypes both in the Boston Early-Onset COPD
       Study 9-11, as well as in general population pedigrees 12, we hypothesized that
       CTLA4 single nucleotide polymorphisms (SNPs) would be associated with
       COPD and COPD-related phenotypes, including the severity of airflow limitation
       and the presence of chronic bronchitis . . .

       Genotyping in the two cohorts was performed with the Illumina array-based
       custom SNP genotyping platform.

       We found significant associations with the other COPD-related phenotype
       investigated, chronic bronchitis. In the ICGN families, six out of the nine CTLA4
       SNPs genotyped (SNPs rs926169, rs11571316, rs231775, rs231779, rs3084243
       and rs231725) were significantly associated with the chronic bronchitis phenotype
       (0.0079≤p≤0.0432). Associations with SNPs rs231775 and rs3087243 (p =
       0.0081 and 0.0079, respectively) were significant even after a correction for
       multiple testing. We replicated the significant association with chronic
       bronchiitic phenotype in the COPD cases of the Bergen cohort for four of the six
       CTLA4 SNPs (rs11571316, rs231775, rs3087243 and rs231725;
       0.0325≤p≤0.0408) identified in the ICGN study. After evaluating the risk allele,
       we found that three of the replicated significant SNPs (rs231775, rs3087243 and
       rs231725) for chronic bronchitis have the same directionality of association in the
       two populations.

       We did not detect any significant association with chronic bronchitis in control
       subjects without COPD in the Bergen cohort, suggesting that CTLA4 is
       associated with chronic bronchitis among COPD subjects . . .

                                                26
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 27 of 89




       In the ICGN study, we identified two haplotype blocks. Several of the
       significantly associated SNPs (rs926169, rs11571316, rs231775 and rs231777)
       were located in block 1, while three other significantly associated SNPs
       (rs231779, rs3087243 and rs231725) were located in block 2.

Among the nine SNPs genotyped in the study, 8 are located in non-coding regions, namely

rs926169 (5' intergenic region upstream of CTL4 gene), rs733618, rs11571316, rs16840252

located in the promoter region, rs231777, rs231779 located in the intron, rs3087243, and

rs231725 located downstream of the CTL4 gene. Upon information and belief, GSK has directly

(and/or through service providers acting at GSK's direction) analyzed these SNPs in a manner

that infringed upon claims of the '179 Patent. Upon information and belief, GSK encouraged

these activities and knew that the activities infringed the '179 Patent.

       86.      Also by way of example only, GSK conducted a study in 2007 that was reported

in an article entitled "Association of PTGDR Gene Polymorphisms with Asthma in Two

Caucasian Populations" in the Genes & Immunity Journal. Therein it was reported that:

             The prostanoid DP receptor (PTGDR) is shown to be involved in the asthma
             patho-physiology and the results from the published genetic association
             studies are inconsistent. Four single nucleotide polymorphisms (SNPs) in
             PTGDR were genotyped in 342 and 294 families from UK and Denmark
             respectively. Asthma and asthma-related phenotypes were analyzed using
             family-based association analyses.       In the UK families, a promoter
             polymorphism (-731A/G) showed significant associations with asthma
             (P=0.0022), atopic asthma (P=0.0044), bronchial hyper reactivity or BHR
             (P=0.00120) and strict asthma (P=0.0008). The p-values for asthma, BHR
             and strict asthma were significant even after the most stringent correction for
             the number of markers and the number of phenotypes analyzed (<0.0031). An
             intronic polymorphism (+6651C/T) also showed significant associations with
             asthma (P=0.0302) atopic asthma (P=0.0131), BHR (P=0.0249) and strict
             asthma (P=0.0261). In the Danish families, an intronic asthma (P=0.0348),
             BHR (P=0.0033) and strict asthma (P=0.0381). The results of haplotype
             analyses supported the ones of the single SNP analyses. Thus, we
             demonstrated significant evidence of association between polymorphisms in
             PTGDR with asthma phenotypes in the two Caucasian populations.

                                                 27
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 28 of 89




Upon information and belief, GSK has directly (and/or through service providers acting at GSK's

direction) analyzed non-coding polymorphisms in PTGDR in a manner that infringed upon

claims of the '179 Patent. Upon information and belief, GSK knew that these activities infringed

the '179 Patent.

       87.     Upon information and belief, GSK had actual knowledge of the '179 Patent during

times relevant to this action through at least its research, development and/or patent application

activities. In addition, GSK has had actual knowledge of the '179 Patent since at least as early as

November 2001 when GTG contacted GSK regarding licensing of the '179 Patent and other

patents.

       F.      HOLOGIC

       88.     Upon information and belief, in July of 2008 Hologic acquired Third Wave

Technologies, which "develops and markets molecular diagnostic reagents for a wide variety of

DNA and RNA analysis applications based on its proprietary Invader chemistry." In 2008, nine

weeks of sales attributed to Third Wave diagnostic products was approximately $5.9 million. In

2009, revenue attributed to Third Wave diagnostic products was approximately $37.1 million.

One of these diagnostic product lines is sold under the name Invader.

       89.     Upon information and belief, the Invader chemistry involves two simultaneous

reactions. In the primary reaction, a probe and an Invader oligonucleotide anneal to a DNA

target sequence of interest. If a mutation or variant is present, a one base overlapping nucleotide

structure is cleaved and released as a flap. This reaction is repeated such that the number of flaps

released is related to the amount of the target sequence of interest in the sample, which offers a

quantitative detection of the genes present in the sample. In the secondary reaction, the flaps

                                                28
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 29 of 89




attach to a fluorescent resonance energy transfer cassette. Once the flap attaches and the one

base overlapping nucleotide is recognized, it releases a fluorescent signal that can be detected

with a multi-well fluorometer. The Invader technology has been used to infringe at least one

claim of the '179 Patent.

        90.     The Invader chemistry is used in several products offered by Hologic, including

InPlex CF, Life Science Research Kit, Chromosome Specific Panels, Invader Whole Genome

Screening Panels, Low Density Genome-wide Panel, Higher Density SNP Panel, Invader

UGT1A1 Molecular Assay, and through Hologic AgBio services, which include SNP

genotyping.

        91.     By way of example only, the Invader chemistry used in the InPlex CF test kits

detects and identifies mutations and variants in the cystic fibrosis transmembrane conductance

regulator gene, including mutations and variants recommended for detection by the 2004

American College of Medical Genetics. Many of these mutations and variants are found only in

non-coding DNA regions.

        92.     Hologic AgBio has also offered services using InvaderPlus technology, including

SNP genotyping.       Hologic has also offered the Universal Invader product, which allows

researchers to design reactions that use the Invader chemistry. Both InvaderPLUS and Universal

Invader involve PCR amplification followed by the Invader chemistry reaction and can be used

and, upon information and belief, have been used to conduct methods covered by the '179 Patent.

        93.     Upon information and belief, Hologic had actual knowledge of the '179 Patent

during times relevant to this action through at least its research, development and/or patent

application activities.


                                               29
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 30 of 89




       G.      MERIAL

       94.     Merial has offered a series of genetic tests for DNA markers associated with

quality traits in beef and dairy cattle under the trade name "Igenity." According to Merial's

marketing materials, "Igenity helps you understand and manage the potential for animals to

perform and transmit traits of economic importance." The Igenity DNA marker profile includes

numerous non-coding DNA markers associated with genes responsible for these traits. Merial's

analysis of these non-coding DNA markers either directly and/or through service providers

acting at the direction of Merial infringed upon claims of the '179 Patent.

       95.     By way of example only, the Igenity TenderGENE tests for three DNA markers

including two SNPs in the calpain gene (CAPN 316 and CAPN 4751) and one in the calpastatin

gene (UoG-CAST 1). These genetic markers are associated with meat tenderness. At least the

CAPN 4751 and UoG-CAST 1 markers are located solely in non-coding regions.                   Upon

information and belief, Merial directly and/or through service providers acting at the direction of

Merial amplified DNA with a primer pair spanning a DNA sequence containing these non-

coding markers. Merial's analysis of these markers thus infringed upon claims of the '179 Patent.

Upon information and belief, Merial encouraged these activities and knew that the activities

infringed the '179 Patent.

       96.     Also, by way of example only, Merial has tested for markers associated with the

leptin gene, a gene associated with appetite and metabolism and the propensity for meat to

marble. The analysis included several non-coding DNA markers. More specifically, Merial's

International Patent Application No. WO 2006/096427 A2 ("the '427 Publication") relates to

identification of leptin gene polymorphisms and their use in determining genotype/phenotype


                                                30
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 31 of 89




association in live stock. Three polymorphisms, UASMS 1, UASMS 2, and UASMS 3, are

identified in the '427 Publication as being located in promoter or non-coding DNA regions. The

'427 Publication also describes the primer pair sequences for the amplification of DNA

sequences containing these non-coding markers.         Merial's analysis of these markers either

directly and/or through service providers acting at the direction of Merial infringed upon claims

of the '179 Patent. Upon information and belief, Merial encouraged these activities and knew

that the activities infringed the '179 Patent.

        97.      Also, by way of example only, in the publication entitled "Polymorphisms In Two

Positional Candidate Genes In The Bovine Chromosome 14 Are Associated With Carcass Merit

In Beef Cattle," presented at the Plant & Animal Genomes XV Conference held January 13-17,

2007 in San Diego, California, Merial states:

        Nine unique polymorphism were identified in DECR1, including 4 exonic SNPs
        and 4 unique polymorphisms were identified in the CBFA2T1 gene, all of which
        are intronic. . . . Two of the exonic polymorphisms produced amino acid
        composition changes from isoleucine to valine and valine to methionine. The
        latter appears to be located in a conserved region where important catalytic
        reactions occur.

In the publication entitled "Polymorphisms In The Bovine Fibroblast Growth Factor 8 (FGF8)

Gene Are Associated With Carcass Quality And Growth Traits In Beef Cattle," presented at the

Plant & Animal Genomes XV Conference held January 13-17, 2007 in San Diego, California,

Merial states:

        In this experiment, 464 animals from an experimental composite line comprised
        of Angus, Charolais and Hybrid steers were sequenced for FGF8 introns and
        exons (NW_930497.1). Four unique polymorphisms were identified, two exonic
        and two intronic. Single locus and haplotype association analysis . . . were carried
        out resulting in a number of significant associations with carcass quality and
        growth traits in beef cattle; including carcass lean meat yield %, ultrasound
        marbling and birth weight.

                                                 31
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 32 of 89




In the publication entitled "Genetic And Phenotypic Relationships Of Serum Leptin

Concentration With Performance, Feed Efficiency, And Carcass Merit Of Feedlot Cattle," J.

Animal Science, pp 1-30, Nkrumah JD et al. (2007), Merial states:

        Mutations in the leptin gene or its promoter are associated with differences in
        serum leptin concentrations and other economically relevant traits in beef and
        dairy cattle. Indeed, polymorphisms in the bovine leptin promoter have been
        shown to have strong associations with serum leptin concentrations as well as
        body fatness.

        98.     Upon information and belief, Merial has either directly and/or through service

providers acting at the direction of Merial analyzed the non-coding markers identified in these

publications and thus infringed upon claims of the '179 Patent. Upon information and belief,

Merial encouraged these activities and knew that the activities infringed the '179 Patent.

        99.     Since the first offering of its Ingenity tests through the expiration of the '179

Patent, Merial has added numerous DNA markers to its Igenity profile. Upon information and

belief, many of those markers are located in non-coding DNA regions. Upon information and

belief, Merial has either directly and/or through service providers acting at the direction of

Merial used DNA amplification to analyze these non-coding DNA markers and to detect the

genes responsible for the associated traits of economic importance.          These activities thus

infringed upon claims of the '179 Patent. Upon information and belief, Merial encouraged these

activities and knew that the activities infringed the '179 Patent.

        100.    Upon information and belief, Merial had actual knowledge of the '179 Patent

during times relevant to this action through at least its research, development and/or patent

application activities.



                                                 32
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 33 of 89




       H.      PFIZER

       101.    Pfizer is active in the area of pharmacogenetics. Pfizer acknowledges that the use

of pharmacogenetic information can alter the course of its drug development or change the drug

labeling for on-shelf pharmaceutical drugs in order to retain FDA approval.

       102.    Pfizer has actively advocated pharmacogenetic research, both in terms of

therapeutic effect as well as adverse effects.           Pfizer has also undertaken numerous

pharmacogenetic studies (clinical trials) and funds studies to investigate gene polymorphisms

associated with disease and drug response.

       103.    Pfizer's pharmacogenetic activities include the analysis of non-coding DNA

markers. As further described below, and by way of example only and upon information and

belief, Pfizer has either directly and/or through others acting at the direction of Pfizer analyzed

non-coding DNA markers in connection with the drugs Camptosar (Irinotecan) and Zoloft

(Sertraline) using methods that infringed claims of the '179 Patent. Upon information and belief,

Pfizer encouraged these activities and knew that the activities infringed the '179 Patent.

       104.    With respect to Irinotecan, Pfizer directly (and/or through service providers acting

at Pfizer's direction) performed genotyping activities in 2005 as well as funded numerous studies

undertaken by third parties using the inventions of the '179 Patent. The genotyping test that is

related to the drug's metabolism and thus toxicity interrogates a non-coding polymorphism of the

multi-allelic UGT1A1 genetic locus. These activities are directly related to the safety of use of

Irinotecan and therefore sale of the drug.

       105.    Irinotecan hydrochloride was originally developed in Japan by the Yakult Honsha

Company. Licensing rights for clinical development in the U.S. were granted to Pharmacia,


                                                33
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 34 of 89




whereas similar rights in Europe were granted to Aventis. Irinotecan was first approved in the

U.S. for the treatment of metastatic colorectal cancer after failure of first-line treatment with 5-

FU. This initial approval was based on tumor response rate data from phase II, uncontrolled

studies. Conditional marketing authorization in the U.S. was granted in 1996 under FDA

regulations designed to accelerate approval of new and promising drugs for serious or life-

threatening illnesses. Subsequently, Aventis completed two European randomized, phase III

studies comparing second-line Irinotecan therapy with best supportive care or with infusional 5-

FU-based therapy and provided the data from these trials to Pharmacia. The survival advantages

associated with Irinotecan use in each of these trials was the basis for full FDA approval for

Irinotecan as second-line therapy for patients with metastatic colorectal cancer in September

1998. It was approved as a first-line therapy in April 2000.

       106.    Pfizer acquired Pharmacia in 2003 for $60 Billion comprising assets related to

Irinotecan in the U.S. and others. Pfizer then acquired the European rights for Irinotecan from

Aventis in 2004 for $620 Million. Prior to patent expiration, Irinotecan was Pfizer's major cancer

treatment drug with global revenues of $969 Million in 2007. Campotosar is a commercially

available form of Irinotecan that is manufactured and sold in the United States by Pfizer. Pfizer

lost exclusivity for Irinotecan in February 2008 and July 2009, in U.S. and Europe, respectively.

Currently, Pfizer's global revenue from Irinotecan is $117 Million.

       107.    The UGT1A1*28 allele is a promoter polymorphism reported to effect drug

efficacy of Irinotecan. Pfizer collaborated in a clinical trial entitled "Toxicity/Benefit Ratio

Optimization of Chemotherapy in Colorectal Cancer (CRC) Patients by Determination of

Individual Genotypic Determinants" in June 2005 and completed the trial in December 2008.


                                                34
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 35 of 89




The study involved genotyping patients for the UGT1A1 polymorphisms prior to first

administration of Irinotecan.

       108.    The FDA recommended label changes to Irinotecan to include UGT1A1 genetic

information in July 2005. In conjunction with the label changes, the FDA simultaneously

approved the first commercial kit offered by Third Wave Technologies for genotyping the

UGT1A1 polymorphism. Subsequently, there was an increase in both the number of laboratories

offering UGT1A1 genotyping as well as availability of related reagents and kits.

       109.    Pfizer has encouraged in prescribing information that "UGT1A1 activity is

reduced in individuals with genetic polymorphisms that lead to reduced enzyme activity such as

the UGT1A1*28 polymorphism. Approximately 10% of the North American population is

homozygous for the UGT1A1*28 allele. In a prospective study, in which Irinotecan was

administered as a single-agent on a once-every-3-week schedule, patients who were homozygous

for UGT1A1*28 had a higher exposure to SN-38 than patients with the wild-type UGT1A1

allele. . . . Individuals who are homozygous for the UGT1A1*28 allele are at increased risk for

neutropenia following initiation of CAMPTOSAR treatment. A reduced initial dose should be

considered for patients known to be homozygous for the UGT1A1*28 allele."          Acting upon

these directions by Pfizer, laboratories and doctors conducting analysis of DNA for the

UGT1A1*28 allele in connection with the prescribing of Camptosar directly infringed upon

claims of the '179 Patent. Upon information and belief, Pfizer encouraged these activities and

knew that the activities infringed the '179 Patent. Upon information and belief, Pfizer has

amplified DNA with a primer pair spanning a DNA sequence containing the UGT1A1*28




                                               35
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 36 of 89




polymorphism which Pfizer has associated with increased risk for neutropenia. These activities

by Pfizer directly infringed upon claims of the '179 Patent.

       110.    With respect to Sertraline, Pfizer has also performed genotyping activities that

relate to the inventions of the '179 Patent. The genotyping test that is related to the drug's

metabolism and thus toxicity interrogates a non-coding polymorphism (5HTTLPR) of the multi

allelic SLC6A4 genetic locus. These activities are directly related to the safety of use of

Sertraline and therefore sale of the drug.

       111.    Zoloft is a commercially available form of Sertraline that is manufactured and

sold in the United States by Pfizer. Zoloft was one of Pfizer's blockbuster drugs generating

$2.11 Billion in 2006. It is used to treat major depressive disorder, panic disorder, obsessive-

compulsive disorder (OCD) in adults and children, post-traumatic stress disorder (PTSD),

premenstrual dysphoric disorder (PMDD) and social anxiety disorder (SAD). Zoloft is approved

for acute and long-term use in all of these indications, with the exception of PMDD. The drug

went off patent in June 2006.

       112.    In 2006, Pfizer's sister company Pfizer Australia funded a study entitled

"Serotonin Transporter Polymorphisms and Clinical Response to Sertraline Across Ethnicities,"

which investigated the "relationship between clinical response, adverse effects, Sertraline

(SERT) plasma concentrations and the genetic polymorphism of the serotonin transporter gene-

linked polymorphic region (5HTTLPR)."         Upon information and belief, Pfizer has directly

(and/or through service providers acting at Pfizer's direction) replicated and/or conducted further

analysis consistent with the 2006 study and in doing so has amplified DNA with a primer pair

spanning a DNA sequence containing the 5-HTTLPR polymorphism which Pfizer has associated


                                                36
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 37 of 89




with genes effecting serotonin responsiveness. The analysis of this non-coding DNA marker in

this manner thus directly infringed upon claims of the '179 Patent. Upon information and belief,

Pfizer encouraged these activities and knew that the activities infringed the '179 Patent.

         113.    Upon information and belief, and as described below, Pfizer has also performed

other genotyping activities that infringed one or more claims of the '179 Patent. These activities

were also directly related to the safety and efficacy and thus the development and/or sale of

various drugs.

         114.    By way of example only, Pfizer's International Patent Application No.

WO2005/090601 and entitled "Biomarker of Hypertension" ("the '601 Publication") describes

the analysis of the -54E3 polymorphism of the GUCY1 A2 gene. The -54E3 polymorphism is an

A/G variant which occurs in intron 2 of the GUCY1A2 gene. The '601 Publication describes the

use of PCR and other amplification techniques for amplifying genomic DNA samples and

analysis of those samples using a number of tools. For example, Claim 5 of the '601 Publication

reads:

         A kit for the diagnosis of hypertension or a predisposition to hypertension in a
         human subject, or for the selection of a human subject likely to respond to
         treatment with an sGC activator compound, comprising means for identifying the
         genotype of the -54E3 A/G single nucleotide polymorphism of the human
         GUCY1 A2 gene, and/or one or more single nucleotide polymorphisms of
         GUCY1A2 which is/are in linkage disequilibrium therewith, in DNA taken from
         the subject.

Upon information and belief, Pfizer has replicated and/or conducted further analysis consistent

with the '601 Publication directly (and/or through service providers acting at Pfizer's direction)

and has thus infringed upon claims of the '179 Patent. Upon information and belief, Pfizer

encouraged these activities and knew that the activities infringed the '179 Patent.


                                                37
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 38 of 89




       115.    Also by way of example only, Pfizer's International Publication No. WO

2005/031341 and entitled "Methods for Predicting Development of Insulin Resistance" ("the '341

Publication") describes the analysis of the -359 polymorphism of the P110β gene using PCR

amplification techniques for amplifying genomic DNA samples.                 In addition, the '341

Publication describes: "In one aspect of any of the methods of the invention, the step of

determining whether the DNA of subject comprises a particular P110β allele can be performed

using a nucleic acid molecule that specifically binds a P110β nucleic acid molecule. Preferably,

the P110β allele comprises detecting a polymorphism in a transcriptional regulatory region, in

further preferred aspects, the methods of the invention comprise determining whether the DNA

of an individual comprises a T or a C at position 100 of SEQ ID NO 1, or at position -359

(position 359 upstream from the start codon) of the P110β gene. This may thus comprise

determining whether the genomic DNA of an individual comprises a P110β allele, whether

mRNA obtained from an individual comprises a P110β allele." Upon information and belief,

Pfizer has replicated and/or conducted further analysis consistent with the '341 Publication

directly (and/or through service providers acting at Pfizer's direction) and has thus infringed

upon claims of the '179 Patent. Upon information and belief, Pfizer encouraged these activities

and knew that the activities infringed the '179 Patent.

       116.    Upon information and belief, Pfizer had actual knowledge of the '179 Patent

during times relevant to this action through at least its research, development and/or patent

application activities. In addition, Pfizer has had actual notice of the '179 Patent since at least as

early as March 2008 when its business unit, Pfizer Animal Health, acquired Catapult Genetics

Pty., Ltd. and Bovigen, LLC who are both licensees of the '179 Patent. During the acquisition


                                                 38
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 39 of 89




process for these GTG licensees, there were numerous communications between Pfizer and GTG

concerning the licenses to the '179 Patent.

       I.      454

       117.    In January of 2007, 454 began offering for sale the Genomic Sequencer FLX

system ("GS FLX"). 454 was acquired by Roche Diagnostics ("Roche") in March of 2007.

Upon information and belief, 454 began using and testing the Genomic Sequencer Junior system

("GS Junior") at least as early as 2009. Both the GS FLX and GS Junior systems use a range of

kits containing reagents provided by Roche. The use of these systems has infringed at least one

claim of the '179 Patent.

       118.    The GS FLX and GS Junior systems are used to analyze genomic DNA and PCR

products. These materials are segmented into 300-800 base pair fragments if necessary. The

fragments are immobilized to a DNA capture bead. The fragmented sequence containing capture

bead can be amplified using emulsion PCR and analyzed using the systems.

       119.    By way of example only, in a 2009 study entitled “Rare Variants of IFIH1, a

Gene Implicated in Antiviral Responses, Protect against Type 1 Diabetes,” sequencing was

performed by scientists, including a 454 employee named David Riches, using the GS FLX

system to determine if there was a genetic variation linked to Type 1 Diabetes ("T1D"). The GS

FLX system was used to re-sequence genes believed to be associated with T1D. The study

analyzed both coding and non-coding regions of the IFIH1 gene, which is multi-allelic. Thus,

when used to analyze the non-coding region of the multi-allelic IFIH1 gene by the process

described above, use of the GS FLX system infringed at least one claim of the '179 Patent. Upon




                                              39
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 40 of 89




information and belief, 454 directed these activities and/or encouraged these activities and knew

that the activities infringed the '179 Patent.

        120.     Upon information and belief, 454 had actual knowledge of the '179 Patent during

times relevant to this action through at least its research, development and/or patent application

activities. In addition, 454 has had actual knowledge of the '179 Patent since at least as early as

August 2006 when 454 and GTG engaged in licensing discussions regarding the '179 Patent and

other patents.

                              V.     FIRST CLAIM FOR RELIEF
                      (Patent Infringement by Agilent – U.S. Patent No. 5,612,179)

        121.     GTG incorporates by reference each and every allegation in paragraphs 1 through

120 as though fully set forth herein.

        122.     Agilent has manufactured, made, had made, used, practiced, imported, provided,

supplied, distributed, sold, and/or offered for sale products, the use of which by Agilent's

customers has directly infringed one or more claims of the '179 Patent. Upon information and

belief, Agilent was aware of and encouraged its customers to use Agilent products in a manner

that infringed the '179 Patent, and intended to cause that infringement. Alternatively, Agilent

willfully blinded itself to the infringing nature of its customer's use of Agilent products to

infringe the '179 Patent. Agilent has thus induced direct infringement of the '179 Patent by

others by actively instructing, assisting and/or encouraging others to practice one or more of the

inventions claimed in the '179 Patent in violation of 35 U.S.C. § 271(b).

        123.     Agilent has contributed to direct infringement of the '179 Patent by others by

offering to sell, selling or providing one or more items which constitute a material part of

inventions defined by claims of the '179 Patent, including, without limitation, Agilent's HD-CGH

                                                 40
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 41 of 89




Custom Arrays, knowing the same to have been especially made or adapted for use in an

infringement of the '179 Patent, which components are not staple articles or commodities of

commerce suitable for substantial non-infringing use in violation of 35 U.S.C. § 271(c).

       124.    Upon information and belief, Agilent's infringement of the '179 Patent has been

willful, deliberate and/or in conscious disregard of GTG's rights, making this an exceptional case

within the meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       125.    GTG has been damaged as a result of Agilent's infringing conduct. Agilent is

thus liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

                           VI.   SECOND CLAIM FOR RELIEF
                 (Patent Infringement by Bristol-Myers – U.S. Patent No. 5,612,179)

       126.    GTG incorporates by reference each and every allegation in paragraphs 1 through

125 as though fully set forth herein.

       127.    Bristol-Myers has manufactured, made, had made, used, practiced, imported,

provided, supplied, distributed, sold, and/or offered for sale products and/or services that

infringed one or more claims of the '179 Patent in violation of 35 U.S.C. § 271(a) and/or has

induced direct infringement of the '179 Patent by others by actively instructing, assisting and/or

encouraging others to practice one or more of the inventions claimed in the '179 Patent in

violation of 35 U.S.C. § 271(b) and/or has contributed to direct infringement of the '179 Patent

by others by offering to sell, selling or providing one or more items which constitute a material

part of inventions defined by claims of the '179 Patent, knowing the same to have been especially

made or adapted for use in an infringement of the '179 Patent, which components are not staple

                                               41
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 42 of 89




articles or commodities of commerce suitable for substantial non-infringing use in violation of

35 U.S.C. § 271(c).

       128.    Bristol-Myers' actions in infringing the '179 Patent have been, and are, willful,

deliberate and/or in conscious disregard of GTG's rights, making this an exceptional case within

the meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       129.    GTG has been damaged as a result of Bristol-Myers' infringing conduct. Bristol-

Myers is thus liable to GTG in an amount that adequately compensates GTG for such

infringement which cannot be less than a reasonable royalty, together with interest and costs as

fixed by this Court under 35 U.S.C. § 284.

                             VII. THIRD CLAIM FOR RELIEF
                      (Patent Infringement by ESTA – U.S. Patent No. 5,612,179)

       130.    GTG incorporates by reference each and every allegation in paragraphs 1 through

129 as though fully set forth herein.

       131.    ESTA has manufactured, made, had made, used, practiced, imported, provided,

supplied, distributed, sold, and/or offered for sale products and/or services that infringed one or

more claims of the '179 Patent in violation of 35 U.S.C. § 271(a) and/or has induced direct

infringement of the '179 Patent by others by actively instructing, assisting and/or encouraging

others to practice one or more of the inventions claimed in the '179 Patent in violation of 35

U.S.C. § 271(b) and/or has contributed to direct infringement of the '179 Patent by others by

offering to sell, selling or providing one or more items which constitute a material part of

inventions defined by claims of the '179 Patent, knowing the same to have been especially made

or adapted for use in an infringement of the '179 Patent, which components are not staple articles



                                                42
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 43 of 89




or commodities of commerce suitable for substantial non-infringing use in violation of 35 U.S.C.

§ 271(c).

       132.    ETSA's actions in infringing the '179 Patent have been, and are, willful, deliberate

and/or in conscious disregard of GTG's rights, making this an exceptional case within the

meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       133.    GTG has been damaged as a result of ESTA's infringing conduct. ESTA is thus

liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

                           VIII. FOURTH CLAIM FOR RELIEF
                   (Patent Infringement by GeneSeek – U.S. Patent No. 5,612,179)

       134.    GTG incorporates by reference each and every allegation in paragraphs 1 through

133 as though fully set forth herein.

       135.    GeneSeek has manufactured, made, had made, used, practiced, imported,

provided, supplied, distributed, sold, and/or offered for sale products and/or services that

infringed one or more claims of the '179 Patent in violation of 35 U.S.C. § 271(a). GeneSeek's

actions in infringing the '179 Patent have been, and are, willful, deliberate and/or in conscious

disregard of GTG's rights, making this an exceptional case within the meaning of 35 U.S.C. §

285 and entitling GTG to the award of its attorneys' fees.

       136.    GTG has been damaged as a result of GeneSeek's infringing conduct. GeneSeek

is thus liable to GTG in an amount that adequately compensates GTG for such infringement

which cannot be less than a reasonable royalty, together with interest and costs as fixed by this

Court under 35 U.S.C. § 284.

                                                43
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 44 of 89




                             IX.     FIFTH CLAIM FOR RELIEF
                       (Patent Infringement by GSK – U.S. Patent No. 5,612,179)

          137.   GTG incorporates by reference each and every allegation in paragraphs 1 through

136 as though fully set forth herein.

          138.   GSK has used and/or practiced the methods set forth in one or more claims of the

'179 Patent, and/or has masterminded the use and/or practice of the methods set forth in one or

more claims of the '179 Patent by GSK and its service providers, in violation of 35 U.S.C. §

271(a).

          139.   Upon information and belief, GSK was aware of and encouraged its service

providers to conduct pharmacogenetic research activities in a manner that infringed the '179

Patent, and intended to cause that infringement. Alternatively, Agilent willfully blinded itself to

the infringing nature of its service provider's infringing pharmacogenetic research activities.

GSK has induced direct infringement of the '179 Patent by others by actively instructing,

assisting and/or encouraging others to practice one or more of the inventions claimed in the '179

Patent in violation of 35 U.S.C. § 271(b).

          140.   GSK's actions in infringing the '179 Patent have been, and are, willful, deliberate

and/or in conscious disregard of GTG's rights, making this an exceptional case within the

meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

          141.   GTG has been damaged as a result of GSK's infringing conduct. GSK is thus

liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.



                                                 44
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 45 of 89




                            X.     SIXTH CLAIM FOR RELIEF
                    (Patent Infringement by Hologic – U.S. Patent No. 5,612,179)

       142.    GTG incorporates by reference each and every allegation in paragraphs 1 through

141 as though fully set forth herein.

       143.    Hologic has manufactured, made, had made, used, practiced, imported, provided,

supplied, distributed, sold, and/or offered for sale products and/or services that infringed one or

more claims of the '179 Patent in violation of 35 U.S.C. § 271(a) and/or has induced direct

infringement of the '179 Patent by others by actively instructing, assisting and/or encouraging

others to practice one or more of the inventions claimed in the '179 Patent in violation of 35

U.S.C. § 271(b) and/or has contributed to direct infringement of the '179 Patent by others by

offering to sell, selling or providing one or more items which constitute a material part of

inventions defined by claims of the '179 Patent, knowing the same to have been especially made

or adapted for use in an infringement of the '179 Patent, which components are not staple articles

or commodities of commerce suitable for substantial non-infringing use in violation of 35 U.S.C.

§ 271(c).

       144.    Hologic's actions in infringing the '179 Patent have been, and are, willful,

deliberate and/or in conscious disregard of GTG's rights, making this an exceptional case within

the meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       145.    GTG has been damaged as a result of Hologic's infringing conduct. Hologic is

thus liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.



                                                45
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 46 of 89




                           XI.     SEVENTH CLAIM FOR RELIEF
                      (Patent Infringement by Merial – U.S. Patent No. 5,612,179)

          146.   GTG incorporates by reference each and every allegation in paragraphs 1 through

145 as though fully set forth herein.

          147.   Merial has used and/or practiced the methods set forth in one or more claims of

the '179 Patent, and/or has masterminded the use and/or practice of the methods set forth in one

or more claims of the '179 Patent by Merial and its service providers, in violation of 35 U.S.C. §

271(a).

          148.   Upon information and belief, Merial was aware of and encourage its service

providers to conduct non-coding DNA analysis methods in a manner that infringed the '179

Patent, and intended to cause that infringement. Alternatively, Merial willfully blinded itself to

the infringing nature of its service providers' infringing activities. Merial has thus induced direct

infringement of the '179 Patent by others by actively instructing, assisting and/or encouraging

others to practice one or more of the inventions claimed in the '179 Patent in violation of 35

U.S.C. § 271(b).

          149.   Merial's actions in infringing the '179 Patent have been, and are, willful,

deliberate and/or in conscious disregard of GTG's rights, making this an exceptional case within

the meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

          150.   GTG has been damaged as a result of Merial's infringing conduct. Merial is thus

liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.



                                                 46
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 47 of 89




                           XII. EIGHTH CLAIM FOR RELIEF
                     (Patent Infringement by Pfizer – U.S. Patent No. 5,612,179)

       151.    GTG incorporates by reference each and every allegation in paragraphs 1 through

150 as though fully set forth herein.

       152.    Pfizer has used and/or practiced methods set forth in one or more claims of the

'179 Patent and/or has masterminded the combined use and/or practice of the methods set forth in

one or more claims of the '179 Patent by Pfizer and its service providers, in violation of 35

U.S.C. § 271(a).

       153.    Upon information and belief, Pfizer was aware of and encouraged laboratories

and service providers to conduct analysis of non-coding DNA in a manner that infringed the '179

Patent, and intended to cause that infringement. Alternatively, Pfizer willfully blinded itself to

the infringing nature of these analysis activities by laboratories and service providers. Pfizer has

thus induced direct infringement of the '179 Patent by others by actively instructing, assisting

and/or encouraging others to practice one or more of the inventions claimed in the '179 Patent in

violation of 35 U.S.C. § 271(b).

       154.    Pfizer's actions in infringing the '179 Patent have been, and are, willful, deliberate

and/or in conscious disregard of GTG's rights, making this an exceptional case within the

meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       155.    GTG has been damaged as a result of Pfizer's infringing conduct. Pfizer is thus

liable to GTG in an amount that adequately compensates GTG for such infringement which

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.



                                                47
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 48 of 89




                            XIII. NINTH CLAIM FOR RELIEF
                       (Patent Infringement by 454 – U.S. Patent No. 5,612,179)

       156.    GTG incorporates by reference each and every allegation in paragraphs 1 through

155 as though fully set forth herein.

       157.    454 has used and/or practiced methods set forth in one or more claims of the '179

Patent, and/or has masterminded the combined use and/or practice of the methods set forth in one

or more claims of the '179 Patent by 454 and scientists acting at 454's direction, in violation of

35 U.S.C. § 271(a).

       158.    454 has manufactured, made, had made, used, practiced, imported, provided,

supplied, distributed, sold, and/or offered for sale products, the use of which by 454's customers

infringed one or more claims of the '179 Patent. Upon information and belief, 454 was aware of

and encouraged its customers to use 454 products in a manner that infringed the '179 Patent, and

intended to cause that infringement. Alternatively, 454 willfully blinded itself to the infringing

nature of its customer's use of 454 products to infringe the '179 Patent. 454 has thus induced

direct infringement of the '179 Patent by others by actively instructing, assisting and/or

encouraging others to practice one or more of the inventions claimed in the '179 Patent in

violation of 35 U.S.C. § 271(b).

       159.    454's actions in infringing the '179 Patent have been, and are, willful, deliberate

and/or in conscious disregard of GTG's rights, making this an exceptional case within the

meaning of 35 U.S.C. § 285 and entitling GTG to the award of its attorneys' fees.

       160.    GTG has been damaged as a result of 454's infringing conduct. 454 is thus liable

to GTG in an amount that adequately compensates GTG for such infringement which cannot be



                                               48
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 49 of 89




less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

                                     XIV. JURY DEMAND

          GTG hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

                                  XV.    PRAYER FOR RELIEF

          GTG requests that the Court find in its favor and against Defendants, and that the Court

grant GTG the following relief:

          A.     Judgment that one or more claims of the '179 Patent has been directly infringed,

either literally, and/or under the doctrine of equivalents, by one or more Defendants and/or by

others to whose infringement Defendants have contributed and/or by others whose infringement

has been induced by Defendants;

          B.     Judgment that Defendants account for and pay to GTG all damages to and costs

incurred by GTG because of Defendants' infringing activities and other conduct complained of

herein in an amount not less than a reasonable royalty;

          C.     That such damages be trebled where allowed by law for a Defendants' willful

infringement;

          D.     That GTG be granted pre-judgment and post-judgment interest on the damages

caused to it by reason of Defendants' infringing activities and other conduct complained of

herein;

          E.     That this Court declare this an exceptional case and award GTG its reasonable

attorney's fees and costs in accordance with 35 U.S.C. § 285; and


                                                 49
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 50 of 89




       F.     That GTG be granted such other and further relief as the court may deem just and

proper under the circumstances.



                                           Respectfully submitted,



Dated: September 16, 2011                   By:   s/ Benjamin B. Lieb
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                                                  ATTORNEYS FOR PLAINTIFF




                                             50
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 51 of 89




                                                              Ex. A, p. 1
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 52 of 89




                                                              Ex. A, p. 2
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 53 of 89




                                                              Ex. A, p. 3
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 54 of 89




                                                              Ex. A, p. 4
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 55 of 89




                                                              Ex. A, p. 5
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 56 of 89




                                                              Ex. A, p. 6
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 57 of 89




                                                              Ex. A, p. 7
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 58 of 89




                                                              Ex. A, p. 8
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 59 of 89




                                                              Ex. A, p. 9
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 60 of 89




                                                             Ex. A, p. 10
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 61 of 89




                                                             Ex. A, p. 11
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 62 of 89




                                                             Ex. A, p. 12
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 63 of 89




                                                             Ex. A, p. 13
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 64 of 89




                                                             Ex. A, p. 14
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 65 of 89




                                                             Ex. A, p. 15
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 66 of 89




                                                             Ex. A, p. 16
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 67 of 89




                                                             Ex. A, p. 17
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 68 of 89




                                                             Ex. A, p. 18
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 69 of 89




                                                             Ex. A, p. 19
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 70 of 89




                                                             Ex. A, p. 20
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 71 of 89




                                                             Ex. A, p. 21
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 72 of 89




                                                             Ex. A, p. 22
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 73 of 89




                                                             Ex. A, p. 23
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 74 of 89




                                                             Ex. A, p. 24
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 75 of 89




                                                             Ex. A, p. 25
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 76 of 89




                                                             Ex. A, p. 26
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 77 of 89




                                                             Ex. A, p. 27
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 78 of 89




                                                             Ex. A, p. 28
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 79 of 89




                                                             Ex. A, p. 29
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 80 of 89




                                                             Ex. A, p. 30
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 81 of 89




                                                             Ex. A, p. 31
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 82 of 89




                                                             Ex. A, p. 32
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 83 of 89




                                                             Ex. A, p. 33
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 84 of 89




                                                                  Ex. B, p. 1
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 85 of 89




                                                                  Ex. B, p. 2
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 86 of 89




                                                                  Ex. B, p. 3
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 87 of 89




                                                                  Ex. B, p. 4
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 88 of 89




                                                                  Ex. B, p. 5
Case 1:12-cv-00792-WJM Document 2 Filed 03/28/12 USDC Colorado Page 89 of 89




                                                                  Ex. B, p. 6
